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 8     Counsel for the Official Committee of Unsecured Creditors
 9                                       UNITED STATES BANKRUPTCY COURT

10                                       NORTHERN DISTRICT OF CALIFORNIA

11                                                SAN FRANCISCO DIVISION

12     In re:                                                           Case No.: 23-30564
13     THE ROMAN CATHOLIC ARCHBISHOP OF                                 Chapter 11
       SAN FRANCISCO,
14                                                                      DECLARATION OF STEVEN A.
                        Debtor and Debtor in Possession.                MORENO IN SUPPORT OF
15                                                                      APPLICATION OF THE OFFICIAL
                                                                        COMMITTEE OF UNSECURED
16                                                                      CREDITORS FOR ORDER APPROVING
                                                                        EMPLOYMENT OF BURNS BAIR LLP
17                                                                      AS SPECIAL INSURANCE COUNSEL TO
                                                                        THE OFFICIAL COMMITTEE OF
18                                                                      UNSECURED CREDITORS
19

20               I, Steven A. Moreno, declare under penalty of perjury as follows:
21               1.       I am the Co-Chair of the Official Committee of Unsecured Creditors (the
22     “Committee”) of the above-captioned debtor and debtor in possession (the “Debtor”).
23               2.       I submit this declaration (the “Declaration”) in support of the Application of the
24     Official Committee of Unsecured Creditors for Order Approving Employment of Burns Bair LLP as
25     Special Insurance Counsel to the Official Committee of Unsecured Creditors (the “Application”).1
26     Except as otherwise noted, I have personal knowledge of the matters set forth herein.
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           Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Application.

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 1                   THE COMMITTEE’S SELECTION OF THE FIRM AS COUNSEL

 2            3.      The Committee chose Burns Bair LLP (the “Firm”) to serve as special insurance

 3     counsel to the Committee after a comprehensive review process for selecting special insurance

 4     counsel. To that end, the Committee considered proposals from numerous law firms and

 5     interviewed three firms. The Committee assessed potential counsel based on their expertise in the

 6     relevant legal issues and in similar proceedings. Using this review process, the Committee retained

 7     the Firm to serve as its special insurance counsel. I believe the Committee selected the Firm because

 8     of its extensive experience in insurance litigation, Catholic entity reorganizations, and child sexual

 9     abuse-related bankruptcies. Thus, I believe that the Firm is well qualified to represent the

10     Committee as special insurance counsel in this chapter 11 case in an efficient and timely manner.

11                                              RATE STRUCTURE

12            4.      In my capacity as Committee Co-Chair, I am responsible for supervising counsel

13     retained by the Committee.

14            5.      In connection with selecting the Firm as the Committee’s special insurance counsel,

15     the Committee and the Firm agreed that the Firm will charge its regular hourly rates.

16            6.         The Firm has represented to the Committee that Mr. Burns, Mr. Bair, Mr. Kuenzi,

17     Mr. Cawley, and Ms. Jonch-Clausen are the attorneys of the Firm currently expected to be

18     principally responsible for this case, and their customary hourly rates are: Timothy Burns ($1,120);

19     Jesse Bair ($900); Nathan Kuenzi ($550); Brian Cawley ($550) and Karin Jonch-Clausen ($550).

20     The Committee has been advised that the hourly rates for any paralegals working on this case are

21     $340. This arrangement was the product of a negotiation that took place in the context of the

22     Committee’s law firm selection process.

23            7.      The Firm has agreed to contribute ten percent of all fees received in this Case on a

24     final basis to a settlement trust that is approved as part of a plan of reorganization. As such fees are

25     paid, the funds will be held in a separate trust until a settlement trust is established through a plan of

26     reorganization.

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 1                                            COST SUPERVISION

 2            8.      The Committee recognizes that it is its responsibility to monitor the billing practices

 3     of counsel to ensure the fees and expenses paid by the estate remain consistent with the Committee’s

 4     expectations and the exigencies of the chapter 11 case. The Committee will review any invoices that

 5     the Firm submits, and, together with the Firm, be sure to periodically amend any budget and staffing

 6     plans to the extent necessary.

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 8     Executed this 17th day of November 2023.

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                                                     Steven A. Moreno, Co-Chair of the Official
11                                                   Committee of Unsecured Creditors of The Roman
                                                     Catholic Archbishop of San Francisco
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